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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF MARYLAND
                                      (Baltimore Division)

    In re
                                                             Case No. 25-10308 (DER)
    Diamond Comic Distributors, Inc., et al.,
                                                             Chapter 11
                                        1
                             Debtors.
                                                             (Jointly Administered)

                                                             Re: D.I. 136.

                   NOTICE OF POSSIBLE ASSUMPTION AND ASSIGNMENT OF
                  CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED LEASES

        PLEASE TAKE NOTICE that, on January 14, 2025 (the “Petition Date”), the above-
captioned debtors and debtors in possession (collectively, the “Debtors”) each filed a voluntary
petition for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)
in the United States Bankruptcy Court for the District of Maryland (the “Court”), commencing
these chapter 11 cases.

        PLEASE TAKE FURTHER NOTICE that, on January 21, 2025, the Debtors filed a
motion [D.I. 68] (the “Bidding Procedures Motion”) seeking entry of an order (the “Bidding
Procedures Order”), (i) authorizing and approving bidding procedures (the “Bidding Procedures”) 2
in connection with one or more sales or dispositions (collectively, the “Sale(s)”) of the Alliance
Assets, the Diamond UK Assets, and all other assets of the Debtors (collectively, the “Assets”),
(ii) approving certain Bid Protections, (iii) establishing certain dates and deadlines for the sale
process, including scheduling an auction of the Assets (the “Auction”), if applicable, in accordance
with the Bidding Procedures, and the hearing with respect to the approval of the Sale (the “Sale
Hearing”), (iv) approving the form and manner of notice of the Auction, if any, the Sale and the
Sale Hearing, (v) approving procedures for the assumption and assignment of certain executory
contracts and unexpired leases in connection with the Sale and approving the form and manner of
notice thereof, and (vi) granting related relief.

       PLEASE TAKE FURTHER NOTICE that, on February 11, 2025, the Court entered the
Bidding Procedures Order [D.I. 136], approving, among other things, the Bidding Procedures,
which establish key dates and times relating to the Sale and the Auction. All interested bidders
should carefully read the Bidding Procedures Order and the Bidding Procedures in their entirety.


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      The Debtors in these chapter 11 cases along with the last four digits of the Debtors’ federal tax identification
      numbers are: Diamond Comic Distributors, Inc. (3450); Comic Holdings, Inc. (7457); Comic Exporters, Inc.
      (7458); and Diamond Select Toys & Collectibles, LLC (6585). The Debtors’ mailing address is: 10150 York
      Road, Suite 300, Hunt Valley, Maryland 21030.
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      Capitalized terms not defined in this notice are used as defined in the Bidding Procedures Motion or the Bidding
      Procedures, as applicable.


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        PLEASE TAKE FURTHER NOTICE that, upon the closing of the Sale(s), the Debtors
intend to assume and assign to the Successful Bidder certain executory contracts and unexpired
leases (the “Assumed Contracts”). A schedule listing the contracts and leases that may potentially
be assumed and assigned as part of the Sale(s) is attached hereto as Exhibit 1 (the “Contracts
Schedule”) and may also be viewed free of charge on the Debtors’ case information website,
located at https://cases.omniagentsolutions.com/home?clientId=3721, or can be requested by
calling the Debtors’ claims and noticing agent, Omni Agent Solutions, at 866-771-0556 (U.S. &
Canada toll free) or 818-639-4849 (International).

         PLEASE TAKE FURTHER NOTICE that Cure Amounts, if any, for the assumption
and assignment of such contracts and leases are also set forth on the Contracts Schedule. Each
Cure Amount listed on the Contracts Schedule represents all liabilities of any nature of the Debtors
arising under a contract or lease prior to the closing of the Sale(s) or other applicable effective date
of the assumption and assignment of such contract or lease, whether known or unknown, whether
due or to become due, whether accrued, absolute, contingent or otherwise, so long as such
liabilities arise out of or relate to events occurring prior to the closing of the Sale(s) or other
applicable effective date of the assumption and assignment of such contract or lease.

        YOU ARE RECEIVING THIS NOTICE BECAUSE YOU HAVE BEEN
IDENTIFIED AS A COUNTERPARTY TO A CONTRACT OR LEASE THAT MAY BE
ASSUMED AND ASSIGNED AS PART OF THE SALE(s). The presence of a contract or
lease listed on Exhibit 1 attached hereto does not constitute an admission that such contract or
lease is an executory contract or unexpired lease or that such contract or lease will be assumed
and assigned as part of the Sale(s). The Debtors reserve all their rights, claims and causes of
action with respect to the contracts and leases listed on Exhibit 1 attached hereto.

                                          Filing Objections

        Pursuant to the Assumption and Assignment Procedures, objections to the proposed
assumption and assignment of a contract or lease on any basis (other than objections related solely
to adequate assurance of future performance by a Successful Bidder other than the Stalking Horse
Bidder), including any objection relating to Cure Amounts or adequate assurance of the Stalking
Horse Bidder’s future ability to perform, must (i) be made in writing; (ii) state with particularity
the grounds for the response or objection; (iii) if such objection is to the Cure Amount, state with
specificity what Cure Amount the counterparty believes is required (in all cases, with appropriate
documentation in support thereof); (iv) conform to the Bankruptcy Rules and the Local Bankruptcy
Rules; (iv) be filed with the Court no later than March 12, 2025; and (v) be served on the following
parties (collectively, the “Objection Notice Parties”): (a) proposed counsel to the Debtors, Saul
Ewing LLP, 1500 Market Street, 38th Floor, Philadelphia, Pennsylvania 19102, Attn: Jeffrey C.
Hampton (jeffrey.hampton@saul.com) and Adam H. Isenberg (adam.isenberg@saul.com), and
1201 N. Market Street, Suite 2300, Wilmington, Delaware 19801, Attn: Paige N. Topper
(paige.topper@saul.com); (b) counsel to the DIP Lender, Troutman Pepper Locke LLP, 111
Huntington Avenue, 9th Floor, Boston, Massachusetts 02199, Attn: Jonathan W. Young
(jonathan.young@troutmant.com) and David Ruediger (david.ruediger@troutman.com); (c) the
Office of the United States Trustee for the District of Maryland, Attn: Gerard R. Vetter
(gerard.r.vetter@usdoj.gov); (d) proposed counsel to the Committee, (i) Lowenstein Sandler LLP,
1251 Avenue of the Americas, New York, New York 10020, Attn: Bruce S. Nathan

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(bnathan@lowenstein.com) and Gianfranco Finizio (gfinizio@lowenstein.com), and (ii) Tydings
& Rosenberg LLP, One E. Pratt St., Suite 901, Baltimore, Maryland 21202, Attn: Stephen B.
Gerald (sgerald@tydings.com) and Dennis J. Shaffer (dshaffer@tydings.com); and (e) the
Stalking Horse Bidder.

        The Debtors shall file a notice identifying the Successful Bidder(s) and Back-Up Bidder(s)
(if selected) (the “Notice of Successful Bidder”) and shall serve the Notice of Successful Bidder
on each counterparty to a potential Assigned Contract as soon as reasonably practicable after
closing the Auction, if any. Each counterparty to a potential Assigned Contract will then have an
opportunity to object to the identity of the Successful Bidder(s) (other than the Stalking Horse
Bidder) or adequate assurance of future performance with respect to such counterparty’s contract
or lease provided by the Successful Bidder(s), which must (i) be in writing, (ii) comply with the
Bankruptcy Code, Bankruptcy Rules and Local Rules, (iii) state, with specificity, the legal and
factual bases thereof, (iv) be filed with the Court by March 25, 2025, at noon (ET) (the “Adequate
Assurance Objection Deadline”), and (v) be served on the Objection Notice Parties.

       The Court will hear and determine any objections to the assumption and assignment of the
Assumed Contracts to the Purchaser at the Sale Hearing or at a later hearing, as determined by the
Debtors. The Sale Hearing to consider the proposed Sale(s) shall be held before the Honorable
Chief Judge Rice on March 27, 2025, at 10:00 (ET), or such other date as determined by the Court,
at the United States Bankruptcy Court for the District of Maryland, 101 W. Lombard St.,
Courtroom 9-D, Baltimore, Maryland 21201.

                          Consequences of Failing to Timely Assert an Objection

UNLESS YOU FILE AN OBJECTION TO THE CURE AMOUNT AND/OR THE
ASSUMPTION OR ASSIGNMENT OF YOUR CONTRACT OR LEASE IN
ACCORDANCE WITH THE INSTRUCTIONS AND DEADLINES SET FORTH HEREIN,
YOU SHALL BE (A) BARRED FROM OBJECTING TO THE CURE AMOUNT SET
FORTH ON EXHIBIT 1, (B) ESTOPPED FROM ASSERTING OR CLAIMING ANY
CURE AMOUNT AGAINST THE DEBTORS, THE STALKING HORSE BIDDER OR
OTHERWISE SUCCESSFUL BIDDER(S) THAT IS GREATER THAN THE CURE
AMOUNT SET FORTH ON EXHIBIT 1 AND (C) DEEMED TO HAVE CONSENTED TO
THE ASSUMPTION AND/OR ASSIGNMENT OF YOUR CONTRACT OR LEASE AND
THE ADEQUACY OF THE STALKING HORSE BIDDER’S ASSURANCE OF FUTURE
PERFORMANCE.

                                   Obtaining Additional Information

        Copies of the of the Bidding Procedures Motion, the Bidding Procedures, the Bidding
Procedures Order, the Stalking Horse Agreement and all other documents filed with the Court, are
available free of charge on the Debtors’ case information website, located at
https://cases.omniagentsolutions.com/home?clientId=3721, or can be requested by calling the
Debtors’ claims and noticing agent, Omni Agent Solutions, at 866-771-0556 (U.S. & Canada toll
free) or 818-639-4849 (International).




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       Adequate assurance of future performance information for the Stalking Horse Bidder is
available by contacting counsel to the Stalking Horse Bidder at: Whiteford, Taylor & Preston LLP,
Attn: Brent C. Strickland (bstrickland@whitefordlaw.com).

Dated: February 18, 2025                      SAUL EWING LLP

                                           By:/s/ Jordan D. Rosenfeld
                                              Jordan D. Rosenfeld (MD Bar No. 13694)
                                              1001 Fleet Street, 9th Floor
                                              Baltimore, MD 21202
                                              Telephone: (410) 332-8600
                                              Email: jordan.rosenfeld@saul.com

                                              -and-

                                              Jeffrey C. Hampton (admitted pro hac vice)
                                              Adam H. Isenberg (admitted pro hac vice)
                                              Turner N. Falk (admitted pro hac vice)
                                              1500 Market Street, 38th Floor
                                              Philadelphia, PA 19102
                                              Telephone: (215) 972-7777
                                              Email: jeffrey.hampton@saul.com
                                                      adam.isenberg@saul.com
                                                      turner.falk@saul.com

                                              -and-

                                              Mark Minuti (admitted pro hac vice)
                                              Paige N. Topper (admitted pro hac vice)
                                              Nicholas Smargiassi (admitted pro hac vice)
                                              1201 N. Market Street, Suite 2300
                                              Wilmington, DE 19801
                                              Telephone: (302) 421-6800
                                              Email: mark.minuti@saul.com
                                                     paige.topper@saul.com
                                                     nicholas.smargiassi@saul.com

                                              Proposed Counsel for Debtors and Debtors in
                                              Possession




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                                              Exhibit 1

                                         (Contracts Schedule)




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     Contract Counterparty                     Title of Contract                          Debtor Party                 Cure Amount
       12 Gauge Comics                         Supply Agreement                   Diamond Comic Distributors, Inc.        $0.00
        207 Redco LLC                    Agreement of Lease (as amended)          Diamond Comic Distributors, Inc.         $0.00
      2428392, Inc. (FYE)                     Customer Agreement                  Diamond Comic Distributors, Inc.         $0.00
                                                                                 Diamond Select Toys & Collectibles,
         3D Systems, Inc.                     Service Contract Quote                           LLC                      $14,056.88
                                                                                 Diamond Select Toys & Collectibles,
          74850, INC.                           License Agreement                              LLC                        $0.00
       A Wave Blue World                      Distribution Agreement              Diamond Comic Distributors, Inc.        $0.00
          Ablaze, LLC                         Distribution Agreement              Diamond Comic Distributors, Inc.      $19,447.86
       Abstract Studio, Inc.                    Supply Agreement                  Diamond Comic Distributors, Inc.      $20,776.50
                                                                                 Diamond Select Toys & Collectibles,
         accessiBe Ltd.                          Terms of Service                              LLC                        $0.00
    Action Lab Entertainment                    Supply Agreement                  Diamond Comic Distributors, Inc.      $4,075.19
Advance Business Systems & Supply
            Company                               EMS Contract                    Diamond Comic Distributors, Inc.        $0.00
Advance Business Systems & Supply
            Company                                 EMS Contract                  Diamond Comic Distributors, Inc.        $0.00
       Aftershock Comics                      Distribution Agreement              Diamond Comic Distributors, Inc.        $0.00
        Agility Recovery                       Interruption Recovery              Diamond Comic Distributors, Inc.      $6,680.56
        Agility Recovery                       Interruption Recovery              Diamond Comic Distributors, Inc.      $6,680.56
         AHOY Comics                          Distribution Agreement              Diamond Comic Distributors, Inc.      $14,397.25
                                     Fire Alarm Inspection & Testing Agreement
AlarmTec Systems of Memphis, LLC                for Fire Alarm Panel              Diamond Comic Distributors, Inc.        $0.00
      Albatross-Funnybooks                    Distribution Agreement              Diamond Comic Distributors, Inc.        $0.00
           Alien Books                        Distribution Agreement              Diamond Comic Distributors, Inc.      $63,945.80
 Amar Chitra Katha Private Limited            Distribution Agreement              Diamond Comic Distributors, Inc.      $2,955.10
             Amazon                          2023 Purchase Terms Sheet            Diamond Comic Distributors, Inc.        $0.00
             Amazon                        Vendor Terms and Conditions            Diamond Comic Distributors, Inc.        $0.00
 Amazon Fulfillment Services Inc.          Vendor Terms and Conditions            Diamond Comic Distributors, Inc.        $0.00
    Amazon.com Services LLC              MDF/COOP Agreement #83115645             Diamond Comic Distributors, Inc.        $0.00
    Amazon.com Services LLC              MDF/COOP Agreement #73925110             Diamond Comic Distributors, Inc.        $0.00
    Amazon.com Services LLC              MDF/COOP Agreement #73925105             Diamond Comic Distributors, Inc.        $0.00

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      Contract Counterparty                    Title of Contract                          Debtor Party               Cure Amount
     Amazon.com Services LLC             MDF/COOP Agreement #73776520             Diamond Comic Distributors, Inc.       $0.00
     Amazon.com Services LLC             MDF/COOP Agreement #73755775             Diamond Comic Distributors, Inc.       $0.00

American Mythology Productions LLC            Distribution Agreement              Diamond Comic Distributors, Inc.    $43,354.17
  Andrew Kafoury d/b/a Battle Quest
               Comics                         Distribution Agreement              Diamond Comic Distributors, Inc.     $1,152.90
    Anson Logistics Assets LLC             Lease Agreement (as amended)           Diamond Comic Distributors, Inc.     $42,991.01
        Apex Book Company                     Distribution Agreement              Diamond Comic Distributors, Inc.       $0.00
         Arcane Tinmen ApS                     Distributor Agreement              Diamond Comic Distributors, Inc.    $197,277.50
     Archaia Entertainment LLC                  Supply Agreement                  Diamond Comic Distributors, Inc.       $0.00
   Archie Comic Publications, Inc.            Distribution Agreement              Diamond Comic Distributors, Inc.    $12,137.20
           Ares Games, Srl                  Premium Services Agreement            Diamond Comic Distributors, Inc.    $10,698.85
   Artists Writers & Artisans, Inc.           Distribution Agreement              Diamond Comic Distributors, Inc.      $803.64
           Aspen MLT, Inc.                      Supply Agreement                  Diamond Comic Distributors, Inc.     $1,890.50
          Avatar Press, Inc.                  Distribution Agreement              Diamond Comic Distributors, Inc.    $36,495.14
            Bad Egg, LLC                      Distribution Agreement              Diamond Comic Distributors, Inc.      $401.40
            Bedside Press                     Distribution Agreement              Diamond Comic Distributors, Inc.       $0.00
 Behemoth Studio Entertainment LLC            Distribution Agreement              Diamond Comic Distributors, Inc.    $50,520.44
      Benitez Productions Inc.                Distribution Agreement              Diamond Comic Distributors, Inc.     $2,079.27

  Big Box Property Owner E, LLC       Commercial Lease of 2251 Picadilly Drive    Diamond Comic Distributors, Inc.      $0.00
       Black Mask Comics                      Distribution Agreement              Diamond Comic Distributors, Inc.    $2,000.15
        Black Panel Press                     Distribution Agreement              Diamond Comic Distributors, Inc.    $12,049.45
                                         Standard Form Industrial Lease (as
BNC Strategic Capital Ventures, LLC                  amended)                     Diamond Comic Distributors, Inc.       $0.00
 BOOM ENTERTAINMENT, INC.                     Distribution Agreement              Diamond Comic Distributors, Inc.    $799,133.29
BUNDORAN PRESS PUBLISHING
             HOUSE                               Supply Agreement                 Diamond Comic Distributors, Inc.       $6.78
 Card Department, A Department of
        Bandai Co., LTD.                  Sales and Distribution Agreement        Diamond Comic Distributors, Inc.   $4,292,620.24
       Cartoon Books, Inc.                       Supply Agreement                 Diamond Comic Distributors, Inc.       $0.00



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       Contract Counterparty                           Title of Contract                          Debtor Party                Cure Amount

CHAPTER HOUSE PUBLISHING INC.                       Distribution Agreement               Diamond Comic Distributors, Inc.        $0.00
         Charles R. Tyson III                   Senior Employment Agreement              Diamond Comic Distributors, Inc.        $0.00
     CHIZINE PUBLICATIONS                             Supply Agreement                   Diamond Comic Distributors, Inc.        $0.00
                Circana                         Order Form (Statement of Work)           Diamond Comic Distributors, Inc.      $15,489.75
    Cleo Communications US, LLC                    Quote Number 00008951                 Diamond Comic Distributors, Inc.      $72,664.68
          Clover Press, LLC                         Distribution Agreement               Diamond Comic Distributors, Inc.      $9,561.14
           Comic-Con 2025                         2025 SDCC Booth Contract               Diamond Comic Distributors, Inc.        $0.00
        Creative Mind Energy                        Distribution Agreement               Diamond Comic Distributors, Inc.      $12,878.62
       Cryptozoic Entertainment                     Distribution Agreement               Diamond Comic Distributors, Inc.      $3,549.91
da Vinci Editrice S.r.l. d/b/a DV Giochi
            or DV Games                          Fulfillment Services Agreement          Diamond Comic Distributors, Inc.       $8,574.80
           Daniel W. Hirsch                      Senior Employment Agreement             Diamond Comic Distributors, Inc.         $0.00
       Dark Horse Comics, Inc.                              Agreement                    Diamond Comic Distributors, Inc.      $70,968.14
              DC Comics                              Distribution Agreement              Diamond Comic Distributors, Inc.      $232,362.71
      Difference Engine Pte Ltd                      Distribution Agreement              Diamond Comic Distributors, Inc.         $0.00
          Digital Manga, Inc.                        Distribution Agreement              Diamond Comic Distributors, Inc.       $4,625.21

 Dire Wolf Digital, LLC Games, Inc.          PREMIUM SERVICES AGREEMENT                  Diamond Comic Distributors, Inc.      $256,793.40
 DISNEY CONSUMER PRODUCTS,                                                              Diamond Select Toys & Collectibles,
                INC.                                 Settlement Agreement                             LLC                     $1,712,447.00
       DSTLRY Media, Inc.                           Distribution Agreement               Diamond Comic Distributors, Inc.      $65,013.15
     DYNAMIC FORCES, INC.                           Distribution Agreement               Diamond Comic Distributors, Inc.      $158,820.93
     Elective Staffing Midsouth                   Staffing Services Agreement            Diamond Comic Distributors, Inc.      $655,817.27
    Electronic Systems Installers                 Security System Agreement              Diamond Comic Distributors, Inc.         $20.51
                                              Equipment Lease and Propane Supply
         Encore Propane, LLC                               Agreement                     Diamond Comic Distributors, Inc.         $0.00

      Entertainment Earth, Inc.             Entertainment Earth, Inc. Year-End Credit    Diamond Comic Distributors, Inc.        $284.40
              ETS Inc.                             General Staffing Agreement            Diamond Comic Distributors, Inc.         $0.00
    EUREKA PRODUCTIONS                                Supply Agreement                   Diamond Comic Distributors, Inc.        $751.21
  EVIL HAT PRODUCTIONS, LLC                           Supply Agreement                   Diamond Comic Distributors, Inc.       $8,650.40

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    Contract Counterparty                       Title of Contract                         Debtor Party                 Cure Amount
Express Employment Professionals                Staffing Agreement                Diamond Comic Distributors, Inc.      $15,693.86
       FairSquare Comics                      Distribution Agreement              Diamond Comic Distributors, Inc.       $1,538.28
FANTAGRPAHICS BOOKS, INC.                       Supply Agreement                  Diamond Comic Distributors, Inc.      $92,859.04
Feedonomics Holdings, LLC d/b/a
          Feedonomics                          Agreement Terms                    Diamond Comic Distributors, Inc.         $0.00
                                        HVAC/R Preventative Maintenance
          FelgerHart, Inc.                          Agreement                     Diamond Comic Distributors, Inc.         $0.00
                                        Equipment Rental and Water/Coffee
  Fontis Mountain Spring Water                 Service Agreement                  Diamond Comic Distributors, Inc.         $0.00
      Frank Miller Presents                  Distribution Agreement               Diamond Comic Distributors, Inc         $150.48
          Funko, LLC                         Distribution Agreement               Diamond Comic Distributors, Inc.      $438,551.62
           G.T. Labs                           Supply Agreement                   Diamond Comic Distributors, Inc.        $129.24
GEN MANGA ENTERTAINMENT,
             INC.                               Supply Agreement                  Diamond Comic Distributors, Inc.       $1,902.85

        Giovanni Termanini           Independent Sale Representative Agreement    Diamond Comic Distributors, Inc.         $0.00
   Gold Key Entertainment, LLC                Distribution Agreement              Diamond Comic Distributors, Inc.        $69.39
     Good Smile Company Inc.                  Distribution Agreement              Diamond Comic Distributors, Inc.       $5,987.07
       Goodman Games LLC                      Distribution Agreement              Diamond Comic Distributors, Inc.      $131,762.90
       Graphitti Designs, Inc.                   Supply Agreement                 Diamond Comic Distributors, Inc.       $1,821.33
      Green Ronin Publishing                Fulfillment Service Proposal          Diamond Comic Distributors, Inc.
  GREEN RONIN PUBLISHING                      Distribution Agreement              Diamond Comic Distributors, Inc.       $8,342.19
      Gungnir Entertainment                   Distribution Agreement              Diamond Comic Distributors, Inc.       $3,961.35
      Gut Bustin' Games, LLC               Premium Services Agreement             Diamond Comic Distributors, Inc.         $0.00
     Hachette Partworks LTD                   Distribution Agreement              Diamond Comic Distributors, Inc.       $6,260.80
Hasbro Consumer Products Licensing                                               Diamond Select Toys & Collectibles,
              Limited                     Merchandise License Agreement                        LLC                         $0.00
                                      Hasbro International Trading BV, Direct
                                      Import Program 2014 Sales Agreement -
  Hasbro International Trading BV                    Distributor                  Diamond Comic Distributors, Inc.     $1,164,365.40
  HEAVY METAL MAGAZINE                        Distribution Agreement              Diamond Comic Distributors, Inc.        $363.37
         HERMES PRESS                           Supply Agreement                  Diamond Comic Distributors, Inc.        $29.67

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     Contract Counterparty                      Title of Contract                       Debtor Party               Cure Amount
                                          Terms and Conditions for U.S.A
      Hornby America, Inc.                     Independent Dealers             Diamond Comic Distributors, Inc.      $7,683.84
         Humanoids, Inc.                        Supply Agreement               Diamond Comic Distributors, Inc.      $7,909.48
IDEA AND DESIGN WORKS, LLC
      d/b/a IDW Publishing                      Supply Agreement              Diamond Comic Distributors, Inc.        $0.00
       Image Comics, Inc.                          Agreement                  Diamond Comic Distributors, Inc.      $25,666.87
                                                                             Diamond Select Toys & Collectibles,
Imagine Fulfillment Services, LLC         Fulfillment Services Agreement                   LLC                      $4,838.64
       Impact Theory, LLC                     Distribution Agreement          Diamond Comic Distributors, Inc.        $0.00
      IPT Memphis DC LLC                  Lease Agreement (as amended)        Diamond Comic Distributors, Inc.        $0.00
          IT Office LLC                Burglar Alarm Monitoring Agreement     Diamond Comic Distributors, Inc.        $0.00
Jasco Games LLC dba UVS Games               Distributorship Agreement         Diamond Comic Distributors, Inc.      $14,449.57
         Joe Books, Inc.                      Distribution Agreement          Diamond Comic Distributors, Inc.      $8,603.98
                                       Chief Marketing Officer Employment
         Kathy Glover                                Agreement                Diamond Comic Distributors, Inc.        $0.00
    Knine All Systems, Inc.                   Monitoring Agreement            Diamond Comic Distributors, Inc.        $0.00
Konami Digital Entertainment, Inc.          Distributorship Agreement         Diamond Comic Distributors, Inc.      $26,399.82
KOTOBUKIYA CO., LTD. d/b/a/
     Takayuki SUNANO                      Master Distribution Agreement       Diamond Comic Distributors, Inc.       $2,423.44
        Laguna Studios                      Distribution Agreement            Diamond Comic Distributors, Inc.         $0.00
    Les Editions Pix'N Love                 Distribution Agreement            Diamond Comic Distributors, Inc.        $57.00
                                                                             Diamond Select Toys & Collectibles,
    Lions Gate Ancillary LLC             Merchandising License Agreement                   LLC                         $0.00
 LIONWING PUBLISHING LTD                     Distribution Agreement           Diamond Comic Distributors, Inc.         $0.00
         Living the Line                     Distribution Agreement           Diamond Comic Distributors, Inc.       $3,432.38
 LULU IS A RHINOCEROS LLC                    Distribution Agreement           Diamond Comic Distributors, Inc.        $645.16
       Lunar Distribution                      Purchase Agreement             Diamond Comic Distributors, Inc.      $545,560.61
       Mad Cave Studios                      Distribution Agreement           Diamond Comic Distributors, Inc.      $61,968.12
       Magnetic Press, Inc.                  Distribution Agreement           Diamond Comic Distributors, Inc.      $51,067.53
Manson Western, LLC d/b/a Western
  Psychological Services (WPS)           Mutual Non-Disclosure Agreement       Diamond Comic Distributors, Inc.        $0.00



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       Contract Counterparty                        Title of Contract                         Debtor Party               Cure Amount
 MARGARET WEIS PRODUCTIONS,
              LTD.                                   Supply Agreement               Diamond Comic Distributors, Inc.         $0.00
     Massive Publishing, LLC                      Distribution Agreement            Diamond Comic Distributors, Inc.      $40,700.69
      Master Staffing LLC                     Information and Rate Proposal         Diamond Comic Distributors, Inc.       $5,740.94
                                           Distribution Agreement for Exclusive
             Mezco Toys                                   Product                   Diamond Comic Distributors, Inc.        $0.00
         Microsoft Corporation                 Microsoft Volume Licensing           Diamond Comic Distributors, Inc.        $99.99
         Miniso Depot CA Inc.                    Sale of Goods Agreement            Diamond Comic Distributors, Inc.         $0.00
         Miniso Depot CA Inc.               Mutual Confidentiality Agreement        Diamond Comic Distributors, Inc.         $0.00

MISCH MASCH d/b/a Prime Books LLC             Supply Agreement                       Diamond Comic Distributors, Inc.      $914.71
 MOLTEN CORE MEDIA LLC d/b/a
             Magma Comix                    Distribution Agreement                  Diamond Comic Distributors, Inc.      $6,780.51
          Monster Fight Club             Premium Services Agreement                 Diamond Comic Distributors, Inc.      $19,134.00
               Moulinsart          Agreement for DCD to Distribute Products         Diamond Comic Distributors, Inc.        $0.00
            NBM Publishing                    Supply Agreement                      Diamond Comic Distributors, Inc.      $2,587.36
             NETCOMICS                        Supply Agreement                      Diamond Comic Distributors, Inc.      $16,057.34
  Netflix CPX, LLC and Netflix CPX                                                 Diamond Select Toys & Collectibles,
           International, B.V.     Overall Merchandising License Agreement                       LLC                         $0.00
    Nielsen Book Services Limited                  Agreement                        Diamond Comic Distributors, Inc.         $0.00
         Normal Editorial S.A.                Supply Agreement                      Diamond Comic Distributors, Inc.         $0.00
            ONI Press, INC.                   Supply Agreement                      Diamond Comic Distributors, Inc.      $179,942.40
            Opus - Incendium                Distribution Agreement                  Diamond Comic Distributors, Inc.        $426.16
               PAIZO INC                    Distribution Agreement                  Diamond Comic Distributors, Inc.      $183,431.54

         PBW Communications               Master Products and Services Agreement    Diamond Comic Distributors, Inc.        $0.00
         PBW Communications                            Alliance MSA                 Diamond Comic Distributors, Inc.        $0.00
    PEDIGREE BOOKS LIMITED                        Distribution Agreement            Diamond Comic Distributors, Inc.        $0.00
        PENGUIN BOOKS LTD                         Distribution Agreement            Diamond Comic Distributors, Inc.      $48,307.54
Penn State University Press d/b/a Graphic
                Mundi                             Distribution Agreement            Diamond Comic Distributors, Inc.      $15,523.86
            Penn Waste, Inc.                        Service Agreement               Diamond Comic Distributors, Inc.       $860.00

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     Contract Counterparty                      Title of Contract                          Debtor Party                Cure Amount

                                       Commercial Lease of 2701 S. Coliseum
    Phoenix Fort Wayne, LLC           Blvd, Suite 1201, Fort Wayne, IN 46803      Diamond Comic Distributors, Inc.        $0.00
     Portmanteux Publishing                   Distribution Agreement              Diamond Comic Distributors, Inc.        $0.00
                                     Proposal / Agreement for Pest Management
          Presto-X LLC                                 Service                    Diamond Comic Distributors, Inc.       $748.70
                                       Free Comic Book Day Logo Licensing
          Promo Comix                                 Agreement                   Diamond Comic Distributors, Inc.         $0.00
   Publisher Services, Inc (PSI)                Distributor Agreement             Diamond Comic Distributors, Inc.      $154,469.78
QSInformation Services, Inc. DBA
     Firebrand Technologies              Eloquence on Demand Agreement            Diamond Comic Distributors, Inc.      $12,507.66
     RABBIT PUBLISHERS                       Distribution Agreement               Diamond Comic Distributors, Inc.       $311.31
           Raid Studio                       Distribution Agreement               Diamond Comic Distributors, Inc.        $0.00
Randstad General Partner (US) LLC            Randstad Service Terms               Diamond Comic Distributors, Inc.      $6,362.42

Randstad General Partner (US) LLC    Temporary Staffing Services Agreement        Diamond Comic Distributors, Inc.       $6,362.42
 Ravensburger North America Inc.          Lorcana Distributor Agreement           Diamond Comic Distributors, Inc.       $4,948.96
RED GIANT ENTERTAINMENT                         Supply Agreement                  Diamond Comic Distributors, Inc.        $64.41
                                     Heating & Air Conditioning Maintenance
    Reliance Mechanical, Inc.                        Contract                     Diamond Comic Distributors, Inc.        $0.00
     Renegade Games, Inc.                Fulfillment Services Agreement           Diamond Comic Distributors, Inc.        $0.00
     Republic Services, Inc.              Customer Service Agreement              Diamond Comic Distributors, Inc.       $412.18
     Republic Services, Inc.              Customer Service Agreement              Diamond Comic Distributors, Inc.       $412.18
     Republic Services, Inc.              Temporary Service Agreement             Diamond Comic Distributors, Inc.       $412.18
                                       Confidential Fulfillment Agreement,
                                     Covenant Not to Solicit, and Agreement of
           Revend LLC                            Non-Disclosure                   Diamond Comic Distributors, Inc.        $0.00
      Rewind Software Inc.                        Data Services                   Diamond Comic Distributors, Inc.        $0.00
 ROVIO ENTERTAINMENT LTD                       Supply Agreement                   Diamond Comic Distributors, Inc.        $0.00
Rubin & Frieda Fenster Family LTD       Commercial Lease of 1546 Victory         Diamond Select Toys & Collectibles,
           Partnership                      Boulevard, Glendale, CA                            LLC                       $6,800.00



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      Contract Counterparty                          Title of Contract                         Debtor Party               Cure Amount

      SCOUT COMICS &
ENTERTAINMENT HOLDINGS, INC.                     Distribution Agreement             Diamond Comic Distributors, Inc.        $1,274.97
                                          Commercial Lease of 1115 Broadway, Suite Diamond Select Toys & Collectibles,
    Select Office Suites Flatiron              1200, New York, NY 10010                          LLC                         $0.00
 SEVEN SEAS ENTERTAINMENT,
                LLC                              Distribution Agreement              Diamond Comic Distributors, Inc.        $0.00
       SFV York Road, LLC                     Lease Agreement (as amended)           Diamond Comic Distributors, Inc.      $62,733.10
            SHINOBI 7                            Distribution Agreement              Diamond Comic Distributors, Inc.        $0.00
                                             AMENDMENT #1 TO LICENSING              Diamond Select Toys & Collectibles,
     Skybound, LLC (Invincible)                      AGREEMENT                                    LLC                        $0.00
                                                                                    Diamond Select Toys & Collectibles,
       Skybound, LLC (TWD)                       LICENSING AGREEMENT                              LLC                        $0.00
         SKYLAND ARTS                              Distribution Agreement            Diamond Comic Distributors, Inc.        $0.00
Skyscraper Studios, Inc. d/b/a Roll for
              Combat                               Distribution Agreement            Diamond Comic Distributors, Inc.      $2,430.01
             Smile Inc.                               Software Services              Diamond Comic Distributors, Inc.       $199.00
      SOURCE POINT PRESS                           Distribution Agreement            Diamond Comic Distributors, Inc.        $74.61
          Spin Master Ltd.                         Distribution Agreement            Diamond Comic Distributors, Inc.      $93,687.61

STARBURNS INDUSTRIES PRESS                         Distribution Agreement             Diamond Comic Distributors, Inc.       $0.00

STORM KIND PRODUCTIONS INC.                       Distribution Agreement             Diamond Comic Distributors, Inc.       $950.32
                                             Merchandise License "Lost in Space"    Diamond Select Toys & Collectibles,
     Synthesis Entertainment                         Amendment No. 3                              LLC                        $0.00
            T Pub Ltd                             Distribution Agreement             Diamond Comic Distributors, Inc.       $774.19
           Tad Franks                              Letter of Engagement              Diamond Comic Distributors, Inc.        $0.00
         Tee Turtle LLC                           Distribution Agreement             Diamond Comic Distributors, Inc.      $73,172.84
  Teems & DeMoville Mechanical
        Contractors LLC                               Service Agreement              Diamond Comic Distributors, Inc.      $16,658.06
    Tezuka Productions Co. Ltd                         Sales Agreement               Diamond Comic Distributors, Inc.         $0.00
        The Army Painter                       Fulfillment Agreement proposal        Diamond Comic Distributors, Inc.      $212,047.77

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       Contract Counterparty                      Title of Contract                         Debtor Party                 Cure Amount
      THE LION FORGE, LLC                      Distribution Agreement               Diamond Comic Distributors, Inc.        $5.99
The Philip & Jana Oates Family Trust &  Standard Industrial/Commercial Multi-
               O.K.&B.                       Tenant Lease (as amended)              Diamond Comic Distributors, Inc.         $0.00
 The Pokémon Company International,
                  Inc.                 POKÉMON TCG TERMS OF SALE - CIP              Diamond Comic Distributors, Inc.      $855,462.00
        The Tailored Staff LLC                     Agreement Form                   Diamond Comic Distributors, Inc.       $8,320.00
      The Upper Deck Company                   Distributor Agreement                Diamond Comic Distributors, Inc.        $180.00
             Titan Comics                      Distribution Agreement               Diamond Comic Distributors, Inc.      $410,711.21
                                                                                   Diamond Select Toys & Collectibles,
       Toho International Inc.              Merchandising License Agreement                      LLC                         $0.00
Toho International Inc. and Legendary                                              Diamond Select Toys & Collectibles,
          Licensince, LLC                   Merchandising License Agreement                      LLC                        $0.00
          TOKYOPOP Inc.                         Distribution Agreement              Diamond Comic Distributors, Inc.      $10,289.05
            Toon Books                          Distribution Agreement              Diamond Comic Distributors, Inc.        $0.00
     Toonhound Studious, LLC                    Distribution Agreement              Diamond Comic Distributors, Inc.      $1,590.17
    Top Shelf Productions, Inc.                   Supply Agreement                  Diamond Comic Distributors, Inc.        $0.00
           Toy Fair 2025                           Invoice/Statement                Diamond Comic Distributors, Inc.        $0.00
           Trajectory, Inc.                  Ebook Distribution Agreement           Diamond Comic Distributors, Inc.        $0.00
TRANSCONTINENTAL PRINTING
                INC,                               Printing Agreement               Diamond Comic Distributors, Inc.      $315,036.34

    Transcontinental Printing Inc.        Third Amendment to Printing Agreement     Diamond Comic Distributors, Inc.      $315,036.34
       Trick or Treat Studios                   Wholesale Application Form          Diamond Comic Distributors, Inc.      $22,717.87
    Troy and Brenda Little d/b/a
       PEGAMOOSE PRESS                          Distribution Agreement              Diamond Comic Distributors, Inc.      $5,548.54
   TWOMORROWS PUBLISHING                          Supply Agreement                  Diamond Comic Distributors, Inc.      $62,752.81
    Tyco Integrated Security LLC              Commercial Sales Agreement            Diamond Comic Distributors, Inc.        $0.00
             Ubisoft Inc.                         Supply Agreement                  Diamond Comic Distributors, Inc.        $0.00
    UDON ENTERTAINMENT                            Supply Agreement                  Diamond Comic Distributors, Inc.        $0.00
                                         2017 Ultra Pro International LLC Hobby
                                         Distribution Program for North American
     Ultra Pro International LLC                         Markets                    Diamond Comic Distributors, Inc.      $39,133.90

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      Contract Counterparty                       Title of Contract                      Debtor Party                Cure Amount
                                         UPS Incentive Program Agreement (as
     United Parcel Service, Inc.                       amended)                 Diamond Comic Distributors, Inc.      $771,643.64
         USAOPOLY, Inc.                      Distributor Sales Agreement        Diamond Comic Distributors, Inc.      $29,920.93
    Valiant Entertainment, LLC.                Distribution Agreement           Diamond Comic Distributors, Inc.       $5,283.13

VALIANT ENTERTAINMENT, LLC.                    Distribution Agreement           Diamond Comic Distributors, Inc.       $5,283.13
        VIZ Media LLC                          Distribution Agreement           Diamond Comic Distributors, Inc.      $268,308.30
                                          PRODUCT LICENSE AGREEMENT
                                            WARNER BROS. CONSUMER
                                                PRODUCTS INC.                  Diamond Select Toys & Collectibles,
Warner Bros. Consumer Products Inc.             #587127-MULTI                                LLC                      $422,342.61

Waste Connections of Tennessee, Inc.         Customer Service Agreement         Diamond Comic Distributors, Inc.      $80,057.83
    Wicked Cow Studios, LLC                    Distribution Agreement           Diamond Comic Distributors, Inc.         $0.00
  William M. Gaines, Agent, Inc.                Settlement Agreement            Diamond Comic Distributors, Inc.       $1,721.05
       Wizards of the Coast                     Distributor Agreement           Diamond Comic Distributors, Inc.     $1,525,024.27
  Xceeding Partnership Solutions             Staffing Services Agreement        Diamond Comic Distributors, Inc.     $1,142,681.65
         Yen Press, LLC                        Distribution Agreement           Diamond Comic Distributors, Inc.       $6,705.20
       Yumcha Studios, LLC                        Supply Agreement              Diamond Comic Distributors, Inc.        $74.18
         Z2 Comics Inc.                           Supply Agreement              Diamond Comic Distributors, Inc.       $7,618.10
  Zenescope Entertainment, Inc.                   Supply Agreement              Diamond Comic Distributors, Inc.      $68,766.71
         ZLOSS Studios                         Distribution Agreement           Diamond Comic Distributors, Inc.         $0.00




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